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 5
     Attorney for Defendant
 6   DINO ROSETTI
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                ) Case No. CR-S-08-474 EJG
                                              )
12                          Plaintiff,        ) STIPULATION OF THE PARTIES
                                              ) FOR MODIFICATION OF PRETRIAL
13          v.                                ) RELEASE SPECIAL CONDITION
                                              )
14                                            ) Date: N/A
                                              ) Time: N/A
15   DINO ROSETTI                             ) Judge: KIMBERLY J. MUELLER
                                              )
16                Defendants.
     __________________________
17
            The parties hereto, plaintiff, defendant, and the
18
     Pretrial Services Agency, hereby agree to the following
19
     modification of Special Condition of Release:
20
            Defendant shall be allowed to liquidate his 401K
21
     Retirement account held with Meryl Lynch/Chase in order to
22
     pay his property taxes which are both over due and due on the
23
     property he owns at 950 Reserve Drive Suite 160,
24
     Roseville, CA.
25
26
27
28   Stipulation to modify pretrial release
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 1
 2          All other terms and conditions of the defendant's pre
 3   trial release shall remain in full force and effect.
 4              AGREED
 5   DATED: February 5, 2009                            /s/ MARK J. REICHEL
                                                        MARK J. REICHEL
 6                                                      Attorney for Defendant
 7
 8
 9   DATED: February 5, 2009                            LAWRENCE BROWN
                                                        UNITED STATES ATTORNEY
10
                                                  /s/ MARK J. REICHEL FOR
11                                                    Phillip Ferrari
                                                      Assistant United States
12                                                    Attorney
13
14   DATED: February 5, 2009
15                                                /s/
                                                        Mark J. Reichel for
16                                                      STEVE SHEEHAN
                                                        Pretrial Services Officer
17
18                                            ORDER
19          IT IS SO ORDERED.                  All remaining terms and conditions
20   shall remain in full force and effect.
21          DATED:         February 6, 2009.
22
23
24
25
26
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28


     Stipulation to modify pretrial release             2
